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        Attorneys for Defendants and Counterclaimants
   8
   9                             UNITED STATES DISTRICT COURT
  10                           CENTRAL DISTRICT OF CALIFORNIA
  11
          LIBERTY SURPLUS INSURANCE                             Case No.: CV12-00900 RGK (SPx)
  12
          CORPORATION, a New Hampshire
  13      corporation; LIBERTY INSURANCE                        DEFENDANTS’ RE-FILING OF
  14      UNDERWRITERS, INC., an Illinois                       MOTION FOR SUMMARY
          corporation,                                          JUDGMENT (DE 55) RE:
  15                Plaintiffs,                                 SCHOOL DISTRICT PURSUANT
  16                                                            TO FEBRUARY 11, 2019 COURT
               vs.                                              ORDER (DE 119)
  17
  18      LEDESMA & MEYER
  19
          CONSTRUCTION COMPANY, INC.
          a California corporation; JOSEPH
  20      LEDESMA, an individual; KRIS
  21      MEYER, an individual;
  22                   Defendants.
  23
  24
          LEDESMA & MEYER
  25      CONSTRUCTION COMPANY, INC.
  26      a California corporation; JOSEPH
          LEDESMA, an individual; KRIS
  27      MEYER, an individual
  28
                 Counterclaimants,
                                                       ‐ 1 ‐ 
        NOTICE OF DEFENDANTS’ RE-FILING OF MOTION FOR SUMMARY JUDGMNET (DE 55) RE: SCHOOL DISTRICT PURSUANT
                                      TO FEBRUARY 11, 2019 COURT ORDER (DE 119).
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   1
   2
                vs.

   3      LIBERTY SURPLUS INSURANCE
   4      CORPORATION, a New Hampshire
          corporation; LIBERTY INSURANCE
   5      UNDERWRITERS, INC., a Illinois
   6      corporation,
   7
                      Counterdefendants.
   8
   9
  10
  11    TO THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF

  12    RECORD:

  13           Pursuant to this Court’s Order Re: Filing Post-Mandate Motion for

  14    Summary Judgment issued on February 11, 2019, Defendants/Counterclaimants

  15    Ledesma & Meyer Construction Company, Inc., Joseph Ledesma and Kris Meyer

  16    are refiling their Motion for Summary Judgment, and related papers, originally

  17    filed on December 3, 2012, and refiling their Reply, and related papers, originally

  18    filed on December 31, 2012. As ordered by the Court, the motion and reply papers

  19    have been modified to include only the portions of the originals related to whether

  20    the School District is covered under L&M’s insurance policies. The portions of the

  21    motion and reply papers solely related to matters related to the issues addressed

  22    and determined by the Ninth Circuit have been redacted from the original papers.

  23           The following documents are being refiled with the Court:

  24           1. Defendants’ Notice of Motion for Summary Judgment (DE 55)

  25               [modified];

  26           2. Defendants’ Memorandum of Points and Authorities (DE 55-1)

  27               [modified];

  28           3. Declaration of Christopher Hopper (DE 55-2);

                                                       ‐ 2 ‐ 
        NOTICE OF DEFENDANTS’ RE-FILING OF MOTION FOR SUMMARY JUDGMNET (DE 55) RE: SCHOOL DISTRICT PURSUANT
                                      TO FEBRUARY 11, 2019 COURT ORDER (DE 119).
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   1           4. [PROPOSED] Order Granting Summary Judgment to Defendants [DE
   2               55-3](modified);
   3           5. Declaration of Ricardo Echeverria with Exhibits in Support of
   4               Defendants’ Motion [DE 56];
   5           6. Defendants’ Notice of Lodging [Proposed] Statement of Uncontroverted
   6               Facts and Conclusions of Law (DE 57);
   7           7. Defendants’ [Proposed] Statement of Uncontroverted Facts and
   8               Conclusions of Law (DE 57-1)(modified);
   9           8. Defendants’ Reply to Plaintiffs’ Opposition to Motion for Summary
  10               Judgment (DE-68)(modified);
  11           9. Defendants’ Response to L&M’s Proposed Statement of Fact (DE-67).
  12
  13           The Court’s Order states the documents will be taken under submission for
  14    the Court’s consideration. Defendants will therefore not file any additional
  15    documents or an amended notice of hearing.
  16
  17    Date: February 25, 2019                      SHERNOFF BIDART ECHEVERRIA LLP
  18
                                                     By___/s/_Michael Bidart_______________
  19                                                      MICHAEL J. BIDART
  20                                                      RICARDO ECHEVERRIA
                                                          STEVEN SCHUETZE
  21                                                      Attorneys for Defendants/
  22                                                            Counterclaimants
  23
  24
  25
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                                                       ‐ 3 ‐ 
        NOTICE OF DEFENDANTS’ RE-FILING OF MOTION FOR SUMMARY JUDGMNET (DE 55) RE: SCHOOL DISTRICT PURSUANT
                                      TO FEBRUARY 11, 2019 COURT ORDER (DE 119).
Case 2:12-cv-00900-RGK-SP Document 123 Filed 02/25/19 Page 4 of 4 Page ID #:3557




        Re:  Ledesma & Meyer Construction Co. adv. Liberty Surplus Ins. Corp. 
        Case No.  12‐0900 RGK (SPx) 
         
                                CERTIFICATE OF SERVICE
        I hereby certify that on February 25, 2019, I electronically filed the foregoing
        document entitled NOTICE OF DEFENDANTS’ RE-FILING OF MOTION FOR
        SUMMARY JUDGMENT (DE 55) RE: SCHOOL DISTRICT PURSUANT TO
        FEBRUARY 11, 2019 COURT ORDER (DE 119) with the United States District
        Court for the Central District. Notice will be automatically e-mailed to the following
        individuals registered with the Court’s CM/ECF System:
         
        Patrick Fredette, Esq. 
        Christopher Ryan, Esq.  
        McCormick Barstow Sheppard Wayte & Carruth LLP 
        Scripps Center 
        312 Walnut Street, Suite 1050 
        Cincinnati, OH  45202 
        (513) 762‐7520 
        FAX:  (513) 762‐7521 
        patrick.fredette@mccormickbarstow.com 
        christopher.ryan@mccormickbarstow.com 
         

        I declare that I am employed in the office of a member of the bar of this court at
        whose direction the service was made.
        Executed on February 25, 2019, at Claremont, California.

                                            /s/ Debbie Hunter
                                        DEBBIE HUNTER 
         
         
         

         
